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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


                                           )
  SILVERGATE PHARMACEUTICALS, INC.,        )
                                           )
                      Plaintiff,           )
                                           )   C.A. No. 19-678 (LPS)
                v.                         )   C.A. No. 20-1255 (LPS)
                                           )
  AMNEAL PHARMACEUTICALS LLC,              )
                                           )
                      Defendant.           )
                                           )



  DEFENDANT AMNEAL PHARMACEUTICALS LLC’S BRIEF (1) IN SUPPORT OF
   AMNEAL’S CROSS-MOTION TO CONSOLIDATE AND (2) IN OPPOSITION TO
               SILVERGATE’S MOTION TO CONSOLIDATE


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  Dated: October 30, 2020
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        Amneal Pharmaceuticals LLC (“Amneal”) submits this single brief that serves dual

 purposes: to support Amneal’s Cross-Motion to Consolidate and to oppose Plaintiff Silvergate

 Pharmaceuticals, Inc.’s (“Silvergate”) Motion for Consolidation (C.A. No. 19-678-LPS, D.I.

 115; C.A. No. 20-1255-LPS, D.I. 10.)

 I.     Introduction and Summary of Argument

        Efficiency and fairness are best served by consolidating, or at least coordinating for all

 purposes, all six Epaned patents and both Epaned defendants, and pushing trial back a few

 months to accommodate the two new patents. Amneal and Bionpharma were coordinated as to

 the first four Epaned patents for good reason, namely, because they involve overlapping factual

 and legal issues. The two newly-issued, related patents do not change that, and can be rolled into

 the cases involving the first four in short order and with relative ease. Consolidation and/or

 coordination thus avoids the massive inefficiencies of having more than one trial on closely

 related patents, a savings that far outweighs any potential impact on Bionpharma associated with

 postponing the February trial to as early as May 2021.

        Silvergate effectively agrees with Amneal. Indeed, Silvergate has proposed identical

 post-consolidation schedules for each defendant. Amneal has assented to that schedule, though it

 may need to be adjusted further depending on when Silvergate’s motions to consolidate,

 Amneal’s cross-motion to consolidate, and Bionpharma’s motion to dismiss are resolved.

        Although Amneal does not yet have access to Bionpharma’s opposition to Silvergate’s

 motion to consolidate, Amneal expects that Bionpharma is opposing Silvergate’s motion to

 consolidate its old and new cases and insisting on keeping the February 2021 trial date as to the

 first four patents. Bionpharma may argue that consolidation of its related cases would push trial

 beyond the expiration of Bionpharma’s 30-month stay, increasing the risk of injunctive

 proceedings, just to incorporate patents that are subject to a pending motion to dismiss. But as
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 explained below, (1) Bionpharma’s motion to dismiss can be decided at the same time the Court

 decides the consolidation motions; and (2) consolidation would not significantly increase the risk

 of preliminary injunction proceedings as to Bionpharma.

 II.       Nature and Stage of the Proceedings and Statement of Facts

           Silvergate has brought two waves of Epaned litigation in this Court, each against the

 same two defendants, Amneal and Bionpharma. The first wave involves the first set of Epaned

 patents to issue (the ’008, ’442, ’745, and ’987 patents). (C.A. No. 19-678 against Amneal; C.A.

 Nos. 18-1962 and 19-1067 against Bionpharma.) The first wave cases against both Amneal and

 Bionpharma are coordinated for a single trial beginning February 1, 2021. (D.I. 28.)1 The

 second wave involves two patents that did not issue until September 2020 (the ’868 and ’482

 patents), but that are related both to each other and to the first wave patents. (C.A. No. 20-1255

 against Amneal; C.A. No. 20-1256 against Bionpharma; D.I. 116 at 2.)

           Silvergate is seeking defendant-specific consolidations, but is also proposing the same

 schedule for the two defendants. Specifically, Silvergate has moved to consolidate the first and

 second wave Amneal cases, and has proposed some scheduling adjustments to accommodate

 additional discovery as to the two new patents. (D.I. 115, 116, p.7 and Ex. A.) In its motion,

 Silvergate argued that “there is no efficiency to be gained” by also consolidating the Amneal and

 Bionpharma cases. (D.I. 116 at 4.) But tellingly, Silvergate has proposed precisely the same

 scheduling adjustments and trial timing for each defendant. (Compare D.I. 116, Ex. A with C.A.

 No. 18-1962, D.I. 146 at 17.) Accordingly, Silvergate has tacitly agreed that the Amneal and

 Bionpharma cases should still be coordinated and tried together even after its requested

 consolidation.


 1
     Unless otherwise noted, citations herein to “D.I. ___” refer to docket items in C.A. No. 19-678.

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          Bionpharma is expected to be the only one opposing consolidation, and has moved to

 dismiss its second wave case under FRCP 12. (C.A. No. 20-1256, D.I. 12.)

 III.     Argument

          The Court has broad discretionary power to consolidate actions involving a common

 question of law or fact. Fed. R. Civ. P. 42(a); Ellerman Lines, Ltd. v. Atlantic & Gulf

 Stevedores, Inc., 339 F.2d 673, 675 (3d. Circ. 1964). Complete overlap of issues is not required

 for consolidation. See., e.g., Eastman Chem. Co. v. Alphapet, Inc., C.A. No. 09-971-LPS-CJB,

 2011 WL 7121180, at *5-6 (D. Del. Dec. 29, 2011). “In determining whether to consolidate,

 courts balance considerations of ‘efficiency, expense, and fairness.’” SZ DJI Tech. Co., Ltd. v.

 Autel Robotics USA LLC, C.A. No. 16-706-LPS, 2018 WL 1316203, at *1 (D. Del. Mar. 14,

 2018).

                 All Cases Involve Common Questions of Law and Fact.

          Both waves of the Amneal and Bionpharma cases involve common questions of law and

 fact. Silvergate asserts the same six patents against both Amneal and Bionpharma. All six

 patents deal with the same technology and are part of the same patent family. Amneal and

 Bionpharma both assert non-infringement based on their respective ANDA products not meeting

 claim limitations requiring a citric acid/sodium citrate buffer.2 As to those limitations, Silvergate

 asserts infringement solely under the doctrine of equivalents.

          As a result, all parties in both waves will be presenting fact-intensive technical evidence

 regarding the function, way, and result of the same claim limitations of the same asserted patents.



 2
   The asserted claims vary in the recited concentrations of citric acid and sodium citrate. The
 sole exception is the ’868 Patent, which requires a buffer, but does not recite that the buffer be a
 citric acid/sodium citrate buffer. As to that patent, Amneal expects that Bionpharma will also
 rely on non-infringement whereas Amneal expects to rely primarily on invalidity.

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 Further, all parties will also be presenting evidence of whether the accused products do or do not

 contain something substantially the same or different than such claim limitations. Accordingly,

 all parties will be presenting technical and scientific evidence relating to these same specific

 factual issues. In addition, the parties will be presenting evidence and argument regarding

 whether prosecution history estoppel and claim vitiation prevents Silvergate from even asserting

 infringement under the doctrine of equivalents.

        This overlap in law and facts is more than sufficient to invoke Rule 42(a). As explained

 below, consolidation of all Amneal and Bionpharma cases strikes the most appropriate balance

 of efficiency, fairness, and expense, and reduces the potential for inconsistent rulings that could

 arise from holding separate trials involving issues common to all cases.

                Consolidating All Cases Is Most Efficient and Least Expensive.

        Here, consolidation of all cases into a single trial, with a modest extension to incorporate

 the two new patents, is the most efficient approach for the Court and for the parties. As noted

 above, there is substantial overlap in the underlying technology, and in the legal and factual

 issues, so having one trial will reduce repetition and provide opportunity for a full record,

 especially on key technical, factual matters relating to the doctrine of equivalents. Having more

 than one trial will be grossly inefficient and more expensive for all concerned.

        If consolidated, the parties could serve supplemental expert reports on the new patents,

 rather than a second wave of full reports. The parties and experts could also avoid at least some

 of the expense and effort of deposing experts more than once.3 The parties could also avoid the

 expense and effort of preparing more than one pre-trial order and more than one set of pre-trial



 3
   The parties are proceeding with expert depositions in November, so some depositions may be
 taken, and attendant expenses incurred, during the pendency of the consolidation motions.

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 motions. And the Court could avoid the burden of reviewing and ruling on additional pre-trial

 orders and pre-trial motions.

        Although a full consolidation would push trial back a few months, this would not

 significantly increase the risk of injunctive proceedings. First, that risk is currently speculative,

 even doubtful. Bionpharma has previously noted that its ANDA does not have even tentative

 FDA approval, may never receive it, and that Bionpharma may encounter supply or

 manufacturing issues preventing it from attempting to market its ANDA product before a

 decision from this Court. (C.A. No. 20-1256, D.I. 12 at 14, 16 (acknowledging that there is “no

 guarantee that Bionpharma’s ANDA meets all of the FDA’s regulatory requirements” for

 approval and that “Bionpharma could encounter supply or commercial manufacturing issues

 making a launch impossible…”).) Second, to the extent there is any risk of injunctive

 proceedings, it already exists under the current schedule. Trial is set to begin on February 1,

 2021, and Bionpharma’s 30-month stay expires less than three months later. (D.I. 28; C.A. No.

 20-1256, D.I. 16 at 3-4.) Thus, even absent consolidation and an attendant change in trial date,

 the Court might not issue a decision in time to forestall preliminary injunction and/or TRO

 proceedings against Bionpharma.

        Moreover, anything less than full consolidation raises the specter of preliminary

 injunction proceedings anyway. If, for example, the Court denies Bionpharma’s motion to

 dismiss but does not consolidate the first and second wave patents, and Bionpharma does finally

 obtain FDA approval of its ANDA, then the Court may have to entertain injunctive proceedings

 against Bionpharma as to the second wave patents anyway. Likewise, if the Court does not

 consolidate the Amneal cases, Amneal prevails in the February trial on only the first wave of

 patents, and there is no decision on the second wave patents by August 28, 2021 (Amneal’s 30-



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 month stay date), the Court may have to entertain injunctive proceedings against Amneal as to

 the second wave patents.4

        Bionpharma’s motion to dismiss the second wave patents should not change the result

 here. That motion asserts that Silvergate’s §271(e)(2) cause of action should be dismissed under

 Fed. R. Civ. Proc. 12(b)(1) for failure to state a claim, and is premised on the fact that

 Bionpharma’s ANDA does not contain a “Paragraph IV” certification for either of the second

 wave patents. (C.A. No. 20-1256, D.I. 12 at 5-9.) Silvergate, however, points out in its

 opposition to that motion that a Paragraph IV certification is not required to establish a cause of

 action under §271(e)(2). Vanda Pharm., Inc. v. West-Ward Pharm Int’l, Ltd., 887 F.3d 1117

 (Fed. Cir 2018); AstraZeneca Pharm. LP v. Apotex Corp., 669 F.3d 1370 (Fed. Cir. 2012);

 Celgene Corp. v. Sun Pharma Global FZE, No. 19-10099 (SDW)(LDW), 2020 WL 1921700

 (D.N.J. Apr. 6, 2020). Accordingly, the Court may deny Bionpharma’s motion to dismiss and, in

 any event, that motion will be fully briefed at or near the time when the consolidation motions

 are fully briefed, such that all of the motions can be resolved contemporaneously by the Court.

        Moreover, as discussed below, the other benefits of full consolidation outweigh any

 minor downsides of consolidation.

                Full Consolidation Is the Most Efficient and Fair Way to Avoid Inconsistent
                Rulings.

        The Court should hear from all three parties at the same time regarding the buffer non-

 infringement issues common to both defendants, as detailed above. Amneal and Bionpharma’s

 interests are not aligned, because neither their products nor their accused buffer “equivalents” are



 4
   Amneal’s 30-month stay expires August 28, 2021. If all of the cases are consolidated and trial
 is moved to Summer of 2021, Amneal is open to crafting an agreement to remove any need for
 injunctive proceedings as to Amneal.

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 the same. Thus, the Court is likely to encounter competing evidence and argument as to the

 function, way, and result of the buffer limitation at issue, and as to the underlying science of

 buffer chemistry and formulation science. In addition, the evidence and arguments regarding

 estoppel and claim vitiation may not be consistent.

        It would be unfair and prejudicial to Amneal if a trial proceeded in which evidence and

 argument about technical and scientific facts bearing on Amneal’s theories of non-infringement

 are presented by Bionpharma and Silvergate, without the Court also having the benefit of hearing

 Amneal’s evidence and arguments regarding those facts, and without affording Amneal the

 opportunity to confront such evidence at the time it is presented. This concern is not merely

 theoretical. For example, a recent ANDA trial decision from a court in this District used

 testimony by some defendants against another defendant to find infringement by Zydus. See

 Amgen Inc. v. Amneal Pharms. LLC, et al., C.A. No. 16-853-MSG, D.I. 375, pp. 41-42 (D. Del.

 Jul. 27, 2018) (relying on testimony by Aurobindo’s expert and Amneal’s expert to find

 infringement by Zydus).

        The most efficient way to preserve fairness and avoid undue prejudice to Amneal is to

 have a single trial with Bionpharma and Amneal. The simplest way to accomplish this is to

 adopt Silvergate’s proposed schedule adjustment and hold a single trial at the Court’s earliest

 convenience as early as May 2021.

        Full consolidation is also the most efficient way to reduce the risk of inconsistent rulings

 that would arise from trying one defendant without the other. Given that Bionpharma and

 Amneal’s doctrine of equivalents and estoppel positions are not necessarily aligned, separate

 trials of each defendant risks putting the Court in the untenable position of finding in one case

 that the claimed buffer performs one function, way, and result, then finding in another case that



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 the same claimed buffer performs a different function, way, and result. A similar risk exists for

 prosecution history estoppel and vitiation.

 IV.    Conclusion.

        For the forgoing reasons, Amneal respectfully requests that the Court consolidate, or at a

 minimum coordinate, all pending Amneal and Bionpharma Epaned cases, issue an amended

 scheduling order consistent with that proposed by Silvergate, and set a new trial date subject to

 the Court’s schedule for as early as May 3, 2021.



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                                         CERTIFICATE OF SERVICE

                I, Anne Shea Gaza, Esquire, hereby certify that on October 30, 2020, I caused to be

         electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

         using CM/ECF, which will send notification that such filing is available for viewing and

         downloading to all registered participants.

                 I further certify that on October 30, 2020, I caused the foregoing document to be served

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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE



                                                )
 AMGEN INC.,
                                                )
                                                )
               Plaintiff,
                                                )
                                                )         Civ. No. 16-853-MSG
        v.
                                                )         CONSOLIDATED
                                                )
 AMNEAL PHARMACEUTICALS LLC, et al.,
                                                )
                                                )
               Defendants.
                                                )




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 GOLDBERG, M., District Judge                                                     JULY 26, 2018


                                            OPINION

 I.     INTRODUCTION

        This is a consolidated patent infringement action arising under the Drug Price

 Competition and Patent Term Restoration Act of 1984, 21 U.S.C. § 355, also known as the

 Hatch-Waxman Act. United States Patent No. 9,375,405 (the “’405 patent”) is assigned to

 Plaintiff Amgen Inc. (“Amgen”) and listed in the Approved Drug Products with Therapeutic

 Equivalents (the “Orange Book”) as covering Sensipar®. Amgen accuses multiple Defendants

 of infringing the ’405 patent by filing Abbreviated New Drug Applications (“ANDAs”) seeking

 FDA approval to manufacture, use and/or sell generic versions of Sensipar®. These Defendants

 are Amneal Pharmaceuticals LLC and Amneal Pharmaceuticals of New York LLC (collectively,

 “Amneal”), Piramal Healthcare UK Ltd. (“Piramal”), Watson Laboratories, Inc., Actavis, Inc.,

 and Actavis Pharma, Inc. (collectively, “Watson”), and Zydus Pharmaceuticals (USA) Inc. and

 Cadila Healthcare Ltd. (collectively, “Zydus”).

        I bifurcated the infringement claims and invalidity counterclaims for trial, and held a

 four-day bench trial on infringement beginning on March 5, 2018. At the time of the pretrial

 conference, this case involved five additional defendants that have since entered into a consent

 judgment or stipulation of dismissal. (D.I. 316, D.I. 317, D.I. 320, D.I. 321, D.I. 348). Of those



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 five defendants, only one participated at trial: Aurobindo Pharma USA Inc. and Aurobindo

 Pharma USA, Inc., known collectively as “Aurobindo.” Presently before me are the parties’

 post-trial proposed findings of fact and conclusions of law concerning infringement of the ’405

 patent. (D.I. 359, D.I. 360, D.I. 366, D.I. 367). I have subject matter jurisdiction over this

 matter pursuant to 28 U.S.C. §§ 1331 and 1338(a). Venue is proper in this court under 28 U.S.C.

 §§ 1391 and 1400(b).1

 II.    BACKGROUND

        A.      The ’405 Patent

        The ’405 patent, entitled “Rapid Dissolution Formulation of Calcium Receptor-Active

 Compound,” was issued by the United States Patent and Trademark Office (“Patent Office”) on

 June 28, 2016. (D.I. 293, Ex. 1 at ¶ 5). The patent issued from U.S. Patent Application No.

 12/942,646 (the “’646 application”), filed on November 9, 2010, and claims priority to U.S.

 Provisional Patent Application No. 60/502,219, filed on September 12, 2003. (Id. at ¶¶ 7, 8).

 The ’405 patent has two independent claims (claims 1 and 20) and twenty-one dependent claims.

 (JTX 2 at 13:18-15:3).

        For most of the asserted claims, the parties’ stipulated that a finding of infringement

 would depend on the findings for claim 1 of the ’405 patent. (See D.I. 336). Claim 1 recites a

 pharmaceutical composition combining specific excipients in specific amounts with the active

 ingredient cinacalcet hydrochloride (“cinacalcet HCI”). Excipients are the inert ingredients used

 in drug formulations to perform specific functions, such as diluent, binder, or disintegrant. (JTX

 11 at 2545). Diluents provide bulk to the formulation so that the tablets are of sufficient size for

 1
         On May 18, 2017, Chief Judge D. Brooks Smith of the United States Court of Appeals
 for the Third Circuit designated me as a visiting judge for the District of Delaware, pursuant to
 28 U.S.C. § 292(b), to handle this and other Delaware cases.



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 handling. (PTX 454 at 404; D.I. 356 at 946:13-19). Binders act as the adhesive that holds the

 drug and excipients together. (D.I. 353 at 186:8-20). Disintegrants ensure the breakup of the

 tablet upon ingestion thereby promoting absorption of the drug substance. (JTX 11 at 2545; PTX

 447 at 105). With that background in mind, claim 1 of the ’405 patent specifically states:

        A pharmaceutical composition comprising:

        (a)    from about 10% to about 40% by weight of cinacalcet HCl in an amount
               of from about 20 mg to about 100 mg;

        (b)    from about 45% to about 85% by weight of a diluent selected from the
               group consisting of microcrystalline cellulose, starch, dicalcium
               phosphate, lactose, sorbitol, mannitol, sucrose, methyl dextrins, and
               mixtures thereof;

        (c)    from about 1% to about 5% by weight of at least one binder selected from
               the group consisting of povidone, hydroxypropyl methylcellulose,
               hydroxypropyl cellulose, sodium carboxymethylcellulose, and mixtures
               thereof; and

        (d)    from about 1% to 10% by weight of at least one disintegrant selected
               from the group consisting of crospovidine (sic), sodium starch glycolate,
               croscarmellose sodium, and mixtures thereof;

        wherein the percentage by weight is relative to the total weight of the
        composition, and wherein the composition is for the treatment of at least one of
        hyperparathyroidism, hyperphosphonia, hypercalcemia, and elevated calcium
        phosphorus product.

 (JTX 2 at 13:18-39).

        For reasons unknown to me, the parties’ stipulation did not cover three of the dependent

 claims Amgen has asserted against various defendants. Those are claims 5, 6, and 18. Claim 5

 recites, “The composition according to claim 1, wherein the at least one binder is povidone.”

 (JTX 2 at 13:53-54). Claim 6 recites, “The composition according to claim 1, wherein the at

 least one disintegrant is crospovidone.” (Id. at 13:55-56). Claim 18 recites, “The composition

 according to claim 1, wherein the hyperparathyroidism is primary hyperparathyroidism or

 secondary hyperparathyroidism.” (Id. at 14:23-24).


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          B.     Person of Ordinary Skill in the Art (“POSA”)

          The parties’ definitions of a POSA do not meaningfully differ. (See, e.g., D.I. 356 at

 907:1-8; D.I. 353 at 183:5-16). A POSA should have an advanced degree with a M.S. or Ph.D.

 in chemistry, pharmacy and/or pharmacology or a related field, as well as work experience in

 drug dosage and formulations. (D.I. 356 at 939:17-940:4; accord D.I. 353 at 182:10-183:4).

          C.     Prosecution of the ’405 Patent

                 1.     The Original Claim

          The ’646 application was a continuation of U.S. Patent Application No. 10/937,870 (the

 “’870 application”). As originally-filed by Amgen, the ’646 application contained one broad

 claim.    (JTX 5 at SENS-AMG 47; D.I. 355 at 621:23-622:14).                 Claim 1 covered a

 “pharmaceutical composition comprising an effective dosage amount of a calcium receptor

 active compound and at least one pharmaceutically acceptable excipient.” The claim further

 stated that the composition had a particular dissolution profile. (JTX 5 at SENS-AMG 47). But

 the dissolution profile has not been relevant in this litigation, except to note that the inventive

 feature of the ’405 patent was a “rapid” dissolution profile for a poorly soluble drug. (Id. at

 SENS-AMG 520).

                 2.     The 2011 Preliminary Amendment

          Before the Patent Office took formal action on the original claim, Amgen filed a

 preliminary amendment on November 15, 2011 (the “2011 Preliminary Amendment”) cancelling

 claim 1 and adding new claims 2 through 24. (JTX 5 at SENS-AMG 257-62). Claim 2

 narrowed the scope of the claims by requiring specific amounts of three specific types of

 excipient—diluents, binders, and disintegrants—and further requiring that the diluent be selected

 from a Markush group. (Id.; D.I. 354 at 393:16-20). A Markush group “lists alternative species



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 or elements that can be selected as part of the claimed invention.” Multilayer Stretch Cling Film

 Holdings, Inc. v. Berry Plastics Corp., 831 F.3d 1350, 1357 (Fed. Cir. 2016). It is typically

 expressed in the form: “a member selected from the group consisting of A, B and C.” Abbott

 Labs. v. Baxter Pharm. Prods., Inc., 334 F.3d 1274, 1280 (Fed. Cir. 2003). New independent

 claim 2 read:

        A pharmaceutical composition comprising:

        (a)      from about 10% to about 40% by weight of cinacalcet HCl;

        (b)      from about 45% to about 85% by weight of a diluent selected from the
                 group consisting of microcrystalline cellulose, starch, dicalcium
                 phosphate, lactose, sorbitol, mannitol, sucrose, methyl dextrins, and
                 mixtures thereof,

        (c)      from about 1% to about 5% by weight of at least one binder; and

        (d)      from about 1% to 10% by weight of at least one disintegrant, wherein the
                 percentage by weight is relative to the total weight of the composition.

 (JTX 5 at SENS-AMG 258). Claims 3 through 23 were dependent on claim 2; claim 24 was the

 same as claim 2 except without the Markush group. (Id.).

        On September 16, 2014, the Patent Office issued a non-final Office Action rejecting

 claims 2 through 24 as obvious “over Van Wagenen (US 6,211,244 B1) as evidenced by

 Kajiyama et al. (US 6,656,492), in view of Creekmore (US 6,316,460 B1) and Hsu et al. (US

 2005/0147670).” (JTX 5 at SENS-AMG 291-97). As the Examiner explained, Van Wagenen

 discloses compounds that “read on cinacalcet HCl” and “can be used to treat diseases such as

 primary hyperparathyroidism and secondary hyperparathyroidism.” (Id. at SENS-AMG 293-94).

 Hsu discloses pharmaceutical formulations where eleven specific binders—including starch and

 all four binders in claim 1 of the ’405 patent—may be present in an amount from about 1% to

 about 80% by weight.        (Id.; PTX 11 at ¶¶ 17, 46).      Hsu also discloses twelve specific

 disintegrants—including all three disintegrants in claim 1 of the ’405 patent—that may be


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 present in an amount of about 0.1% to about 10% by weight. (JTX 5 at SENS-AMG 293-97;

 PTX 11 at ¶ 51). Creekmore discloses pharmaceutical formulations where nineteen binders—

 including starch, pregelatinized starch, and three of the four binders in claim 1 of the ’405

 patent—may be present in an amount of 2% to 90% by weight. (JTX 5 at SENS-AMG 295;

 PTX 7 at 2:32-43).     Creekmore also discloses that eight disintegrants—including all three

 disintegrants in claim 1 of the ’405 patent—may be present in an amount of about 2% to 10%.

 (JTX 5 at SENS-AMG 295; PTX 7 at col. 2-3).

                3.     The 2014 Amendment

        On December 15, 2014, Amgen responded to the September 16, 2014 Office Action by

 filing an amendment (the “2014 Amendment”) that narrowed the claims. (D.I. 354 at 394:20-

 395:1). Amgen amended independent claim 2 to add that the cinacalcet HCl must be present “in

 an amount of from about 20 mg to about 100 mg.” (JTX 5 at SENS-AMG 308-318). Amgen

 argued to the Patent Office that the 2014 Amendment overcame the prior art references cited in

 the Office Action by adding a precise amount of cinacalcet HCI. (Id. at SENS-AMG 313-319).

                4.     The Examiner’s Amendment

        The Examiner did not allow the 2014 Amendment. (D.I. 354 at 398:2-7). Instead, on

 March 12, 2015, the Examiner had an interview with Amgen’s counsel and proposed an

 Examiner’s Amendment that further narrowed the claims. (JTX 5 at SENS-AMG 340). The

 Examiner’s Amendment canceled dependent claims 6, 8, and 22 and imported those limitations

 into independent claim 2 (which later issued as claim 1). (Id. at SENS-AMG 333-338). Original

 claim 6 stated, “The composition according to claim 1, wherein the at least one binder is selected

 from the group consisting of povidone, hydroxypropyl methylcellulose, hydroxypropyl cellulose,

 sodium carboxymethylcellulose, and mixtures thereof.” (Id. at SENS-AMG 310). Original



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 claim 8 stated, “The composition according to claim 1, wherein the at least one disintegrant is

 selected from the group consisting of crospovidine (sic), sodium starch glycolate, croscarmellose

 sodium, and mixtures thereof.” (Id.). Original claim 22 was a treatment limitation. Thus, as

 proposed by the Examiner, amended claim 2 now read:

        A pharmaceutical composition comprising:

        (a)    from about 10% to about 40% by weight of cinacalcet HCl in an amount
               of from about 20 mg to about 100 mg;

        (b)    from about 45% to about 85% by weight of a diluent selected from the
               group consisting of microcrystalline cellulose, starch, dicalcium
               phosphate, lactose, sorbitol, mannitol, sucrose, methyl dextrins, and
               mixtures thereof,

        (c)    from about 1% to about 5% by weight of at least one binder selected from
               the group consisting of povidone, hydroxypropyl methylcellulose,
               hydroxypropyl cellulose, sodium carboxymethylcellulose, and mixtures
               thereof; and

        (d)    from about 1% to 10% by weight of at least one disintegrant selected
               from the group consisting of crospovidine, sodium starch glycolate,
               croscarmellose sodium, and mixtures thereof,

        wherein the percentage by weight is relative to the total weight of the
        composition, and wherein the composition is for the treatment of at least one of
        hyperparathyroidism, hyperphosphonia, hypercalcemia, and elevated calcium
        phosphorus product.

 (Id. at SENS-AMG 333-34 (underlining Examiner’s amendments)).

        After Amgen agreed to the Examiner’s Amendment, the Examiner found that the pending

 claims overcame the obviousness rejection. (JTX 5 at SENS-AMG 338). Thus, on March 25,

 2015, the Patent Office issued a Notice of Allowance with three attachments: the Examiner-

 Initiated Interview Summary, the Examiner’s Amendment, and the Examiner’s Statement of

 Reasons for Allowance. (Id. at SENS-AMG 332). The Examiner’s reasons for allowance stated:

         The closet [sic] prior art was that which was cited in the previous office action
         filed on 09/16/2014, but fails to specifically disclose or render obvious the
         combination of components and in the amounts thereof set forth in claim 2.


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          The claimed subject matter is not taught or suggested by the cited reference
          and thus, the claimed subject matter are [sic] considered to be novel and
          patentably distinct over the prior art of the record.

 (Id. at 338). Although there was additional prosecution after this first notice of allowance, the

 claims ultimately issued in the same form. Independent claims 2, 24, and 26 from the patent

 application issued as independent claims 1, 20, and 21, respectively. (Id.).

                 5.       Additional Prosecution and Issuance of the ’405 Patent.

         After the Examiner allowed Amgen’s claims, Amgen filed a series of Requests for

 Continued Examination (“RCE”). (JTX 5 at SENS-AMG 345-46, SENS-AMG 1092-93, SENS-

 AMG 1613-14).           With each RCE, Amgen submitted Information Disclosure Statements

 identifying additional prior art and documents Amgen claimed were relevant to the prosecution

 of the ’405 patent. (JTX 5 at SENS-AMG 348-1063, SENS-AMG 1095-1576, SENS-AMG

 1611-12).    None of Amgen’s RCEs amended the claims or made further arguments for

 patentability. (Id.).

         On December 1, 2015, while Amgen’s second RCE was pending, Amgen submitted a

 preliminary amendment (the “2015 Preliminary Amendment”). (Id. at SENS-AMG 1577-86).

 In this amendment, Amgen re-submitted the claims as they appeared in the Examiner’s

 Amendment, except Amgen underlined the Examiner’s verbatim additions. (Compare JTX 5 at

 SENS-AMG 1578 (Amgen’s Amendment), with id. at SENS-AMG 333-34 (Examiner’s

 Amendment); see also D.I. 354 at 360:1-14). In the Remarks section of the document, Amgen’s

 counsel stated that the “amendments have not been made in response to a prior art rejection but

 rather to place the claims in proper format and to better define the claimed subject matter,

 including equivalents.” (Id. at SENS-AMG 1583). After each RCE and the 2015 Preliminary

 Amendment, the Examiner allowed the same claims as originally set forth in the Examiner’s

 Amendment. The Examiner’s statement of reasons for allowance identified “the amount of

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 cinacalcet HCI,” “the nature of the excipients,” and “their respective combinations.” (See JTX 5

 at SENS-AMG 1064-71, SENS-AMG 1587-95, SENS-AMG 1643-50, and SENS-AMG 1693).

        D.      Claim Construction

        The court has construed three terms in claim 1 of the ’405 patent. On July 19, 2017, the

 Honorable Gregory Sleet, who was first assigned to this matter, construed the term “relative to

 the total weight of the compositions” in accordance with its plain and ordinary meaning. (D.I.

 186). On February 27, 2018, this case having been reassigned to me as a visiting judge, I

 construed the Markush groups for the binder and disintegrant elements as “closed to unrecited

 binders and disintegrants.”    (D.I. 300 at 6).      I concluded that “there could be no literal

 infringement if the Defendants’ ANDA product contained an unrecited (or unlisted) binder or

 disintegrant.” (Id.). Thus, in order to prove literal infringement, Amgen must prove that all of

 the binders and disintegrants in a defendant’s ANDA product are members of the respective

 Markush group. (Id. at 9).

        Amgen opposed the court’s construction of the Markush groups by filing a motion for

 reargument, which was denied. (D.I. 323, D.I. 358). Amgen also elicited testimony from its

 expert, Dr. Davies, and made arguments in its post-trial brief that were inconsistent with the

 controlling claim construction. (See, e.g., D.I. 354 at 283:4-18; Id. at 297:9-14; Id. at 457:8-15;

 D.I. 355 at 539:8-540:21; D.I. 359 at 25). “Once a district court has construed the relevant claim

 terms, and unless altered by the district court, then that legal determination governs for purposes

 of trial.” Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1321 (Fed. Cir. 2009). Thus,

 Dr. Davies’ expert testimony regarding infringement will be disregarded where it was

 inconsistent with or “based on an incorrect understanding of the claim construction.” Cordis




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 Corp. v. Boston Sci. Corp., 658 F.3d 1347, 1357–58 (Fed. Cir. 2011). In addition, I will not

 address Amgen’s arguments that are based on a claim construction I have already rejected.2

        Finally, I must correct Amgen’s assertion in its post-trial brief that my opinion denying

 the motion for reargument held, as a matter of law, that any pregelatinized starch in a defendant’s

 accused product “count[s]” only as a diluent. (D.I. 359 at 13, 17, 22). That opinion’s discussion

 of pregelatinized starch was limited to the Example in the ’405 patent. (See D.I. 357 at 9-11). In

 that opinion, I rejected Amgen’s argument that the only way to give meaning to the Example was

 to construe claim 1 as open to unlisted binders. (Id.). As I explained, claim 1 of the ’405 patent

 covers pregelatinized starch that functions as a diluent. (Id.). In addition, the ’405 patent teaches

 that the pregelatinized starch in the Example is functioning as a diluent. (Id.). So, the ’405

 patent already covered the Example without having to construe the claim as open to unlisted

 binders. (Id.). What the ’405 patent teaches about the Example, however, does not dictate how

 pregelatinized starch functions in a defendant’s formulation. As every expert witness at trial

 testified, the particular function of pregelatinized starch in any given formulation depends on the

 context. (JTX 11 at 2548; PTX 438 at 686; D.I. 354 at 268:21-269:3; Id. at 309:21-22; Id. at

 468:1-9; D.I. 355 at 504:14-505:1; Id. at 506:15-507:17; Id. at 510:2-11; Id. at 511:4-512:5; Id.

 at 584:19-585:5; D.I. 356 at 955:14-956:10; Id. at 1082:20-1083:15). My memorandum opinion

 on the motion for reargument was consistent with these scientific principles.           Contrary to

 Amgen’s assertion, I did not previously hold that the pregelatinized starch in a defendant’s

 formulation counts only as a diluent.




 2
         For example, Amgen argues that Opadry infringes the binder limitation, because the
 open-ended term “comprising” in claim 1 allows for unlisted excipients such as polyethylene
 glycol, and Opadry is an excipient made in part with polyethylene glycol. (D.I. 359 at 25).

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 III.   CONCLUSIONS OF LAW

        A.      Standard

        A patent is infringed when a person “without authority makes, uses, offers to sell, or sells

 any patented invention, within the United States ... during the term of the patent.” 35 U.S.C.

 § 271(a). To provide jurisdiction over an infringement dispute before an ANDA applicant has

 actually made or marketed the proposed product, 35 U.S.C. § 271(e)(2) states that submission of

 an ANDA is an act infringement “if the purpose of such submission is to obtain approval . . . to

 engage in the commercial manufacture, use, or sale of a drug . . . claimed in a patent . . . before

 the expiration of such patent.” The filing of an ANDA alone does not prove infringement.

 Glaxo, Inc. v. Novopharm, Ltd., 110 F.3d 1562, 1570 (Fed. Cir. 1997). Rather, the patentee must

 show, using “traditional patent infringement analysis,” that “the alleged infringer will likely

 market an infringing product.” Id. at 1569-70; see also Warner-Lambert Co. v. Apotex Corp.,

 316 F.3d 1348, 1365–66 (Fed. Cir. 2003)

        A traditional infringement analysis entails two steps. Markman v. Westview Instruments,

 Inc., 52 F.3d 967, 976 (Fed. Cir. 1995), aff’d, 517 U.S. 370 (1996). First, the court must

 determine the meaning and scope of the asserted claims. Id. Second, the trier of fact must

 compare the properly construed claims with the product accused of infringement. Id. The patent

 owner must show, by a preponderance of the evidence, that each and every limitation of the

 asserted patent claim is found in the accused product, either literally or by equivalent.

 SmithKline Diagnostics, Inc. v. Helena Lab. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988).

        B.      Amneal

        Amneal filed Abbreviated New Drug Application No. 204364 (“ANDA”) with the FDA

 seeking approval to market a generic version of cinacalcet hydrochloride in 30, 60, and 90 mg



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 dosage strengths. (D.I. 293, Ex. 1 at ¶ 35). Amneal included a certification in its ANDA

 pursuant to 21 U.S.C. §355(j)(2)(A)(vii)(IV) (a “Paragraph IV Certification”) stating that the

 ’405 patent is invalid, unenforceable, or will not be infringed by the commercial manufacture,

 use, or sale of Amneal’s product. (Id. at ¶ 36). Amgen claims that Amneal’s product will

 infringe claims 1-4, 6, 8-12, and 14-18 of the ’405 patent. (D.I. 293, Ex. 2 at ¶¶ 25-26). Amneal

 has stipulated that if its ANDA product infringes claim 1, then its ANDA product will also

 infringe claims 2-4, 8-12, and 14-17, to the extent each claim is found valid and enforceable.

 (D.I. 336 at ¶ 1). The stipulation did not cover the asserted claims 6 and 18.

        According to the ANDA, Amneal’s product has the following composition:3

 Ingredient                                        Function

 Cinacalcet HCl                                    Active

 Mannitol                                          Diluent

 Microcrystalline Cellulose                        Diluent

 Opadry Clear YS-1-7006                            Binder

 Crospovidone                                      Disintegrant

 Pregelatinized Starch                             Secondary Disintegrant

 (PTX 183 at 42).

                1.       Binder

        According to the ANDA, the only binder in Amneal’s product is Opadry YS-1-7006

 (“Opadry”). But claim 1 of the ’405 patent does not list Opadry in the Markush group for

 binders, which means under my claim construction order, there is not a clear case of literal


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        As is true for all defendants in this case, Amneal’s pharmaceutical composition includes
 additional excipients not relevant to this litigation and, therefore, not discussed here.


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 infringement. Amgen nonetheless attempts to prove literal infringement by arguing that Opadry

 is a pseudonym for hydroxypropyl methylcellulose (“HPMC”), which is a listed binder. (D.I.

 359 at 24-25). Alternatively, Amgen argues that infringement is established through the doctrine

 of equivalents. (Id. at 26-27). I disagree with Amgen on both of these arguments.

        To start, I find that a POSA would not regard Opadry as a synonym or trade name for

 HPMC. Authoritative pharmaceutical handbooks relied on in the industry identify synonyms for

 excipients. (See PTX 438 at 326). Opadry is not one of the synonyms given for HPMC. (Id.).

 It was also common practice for the inventors of the ’405 patent and Amneal’s ANDA to list an

 excipient followed by its tradename in parenthesis.          (See, e.g., JTX 2 at 11:21-42

 (“Microcrystalline cellulose (Avicel PH102),” “Povidone (Plasdone K29/32),” etc.); PTX 183 at

 42 (“Mannitol, USP (Mannogem EZ),” “Microcrystalline Cellulose, NF (Vivapur Type 101),”

 etc.)). Whenever HPMC appears in the ’405 patent, it is not followed by a reference to Opadry.

 (JTX 2 at 6:61, 7:30-31). The opposite is also true. Whenever the ’405 patent or Amneal’s

 ANDA mention Opadry, it is not linked to HPMC. (JTX 2 at 11:37, 11:39, 12:22, 12:23; PTX

 183 at 42).

        In addition, I conclude for numerous reasons that Opadry is not literally HPMC. The

 excipients have different chemical structures, physical characteristics, binding mechanisms, and

 commercial sources. HPMC is a single molecule, whereas Opadry is a molecular dispersion of

 three distinct chemical ingredients: HPMC, polyethylene glycol 400, and polyethylene glycol

 8000. (D.I. 355 at 796:8-22; DTX-AMN 7 at 8). HPMC is “an off-white poorly flowing

 powder,” whereas the three ingredients in Opadry make a “slurry.” (D.I. 355 at 791:4-24).

 HPMC binds principally through adhesion, while Opadry binds principally through cohesion.

 (Id. at 796:23-797:9). Specifically, HPMC acts as a wet granulation binder by sticking different



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 types of particles together, forming a granule from the inside, out. (Id. at 797:2-5). But Opadry

 acts as a wet granulation binder by spreading and surrounding the drug and excipient particles,

 forming a granule from the outside, in. (Id. at 797:5-9). Opadry is a product manufactured by a

 single company, Colorcon, using a proprietary method, whereas HPMC is not. (Id. at 788:18-

 21). Given the above evidence, Amgen has failed to prove by a preponderance of the evidence

 that Opadry is actually HPMC. Because Opadry is an unlisted binder, Amneal does not literally

 infringe the binder limitation of claim 1.

        Amgen also does not infringe the binder limitation under the doctrine of equivalents. A

 finding of infringement under the doctrine of equivalents requires a showing that: (1) “the

 difference between the claimed invention and the accused product or method was insubstantial,”

 or (2) “the accused product or method performs the substantially same function in substantially

 the same way with substantially the same result as each claim limitation of the patented product

 or method.” AquaTex Indus., Inc. v. Techniche Solutions, 479 F.3d 1320, 1326 (Fed. Cir. 2007).

 Regardless of which test is used, a patentee must “provide particularized testimony and linking

 argument on a limitation-by-limitation basis.” Id. at 1328-29. “[W]hile many different forms of

 evidence may be pertinent, when the patent holder relies on the doctrine of equivalents, as

 opposed to literal infringement, the difficulties and complexities of the doctrine require that

 evidence be presented to the jury or other fact-finder through the particularized testimony of a

 person of ordinary skill in the art, typically a qualified expert.” Id. at 1329.

        Here, Amgen’s expert, Dr. Davies, never once used the word “function,” “way,” “result,”

 or “substantial/insubstantial differences.” (See D.I. 354 at 263:14-268:11). Nor did he provide




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 particularized testimony on each point of comparison.4 (Id.). Instead, Dr. Davies opined in

 conclusory fashion that only the HPMC fraction of Opadry functioned as the binder, and “the

 polyethylene glycol … in the Opadry doesn’t act as a binder.” (Id. at 267:11-18). The court is

 not obligated to accept the conclusory assertions of an expert. Optical Disc Corp. v. Del Mar

 Avionics, 208 F.3d 1324, 1336 n. 5 (Fed. Cir. 2000). Thus, Dr. Davies’ opinion, given without

 explanation or corroborating evidence, is not persuasive.

        In addition, Amneal presented persuasive evidence refuting Dr. Davies’ opinion that

 polyethylene glycol does not contribute to the binding properties of Opadry. Amneal’s expert,

 Dr. McConville, credibly testified that Opadry is a “co-process excipient,” which means that

 “those excipients work together and can never be separated.” (D.I. 355 at 794:2-5). In addition,

 the presence of the polyethylene glycol in Opadry changes the mechanism by which HPMC

 binds, because polyethylene glycol, which is a liquid substance, allows the HPMC in Opadry to

 move freely, spread, and coat the other particles. (Id. at 802:13-24). Scientific literature states

 that, in tablet formulations, polyethylene glycols “can enhance the effectiveness of tablet

 binders.” (PTX 438 at 518). Testing by Amneal demonstrated results consistent with this

 scientific statement. A series of tests compared formulations using HPMC and Opadry as

 binders and found a “significant difference” in the rate of release. (PTX 183 at 61-65). From

 these tests, Amneal concluded that Opadry was “the best choice of binder to achieve enhanced

 drug release profile.”5 (Id. at 65). Dr. Davies admitted that his opinion did not consider or

 respond to these tests. (D.I. 354 at 484:23-491:5). For all of the reasons stated above, I conclude
 4
        It was not until post-trial briefs that Amgen defined the function, way, or result of the
 purported equivalents. (See D.I. 359 at 26-27).
 5
         Amneal tested one formulation that compared HPMC to Klucel and found “no significant
 difference” between the two binders. (PTX 183 at 62-64). Amgen then tested a second
 formulation that compared Klucel to Opadry and found “faster in drug release” with Opadry as a
 binder. (PTX 183 at 64-65).

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 that Amgen has not proven by a preponderance of the evidence that Opadry is equivalent to

 HPMC.

                2.      Disintegrant

        Amneal’s ANDA discloses the use of the listed disintegrant crospovidone and the

 unlisted disintegrant pregelatinized starch. (PTX 183 at 42). Under my claim construction

 order, there is no literal infringement if the ANDA formulation contains any unlisted

 disintegrant. (D.I. 300 at 6). The ’405 patent lists “starch” in the Markush groups for diluents,

 and the parties remaining in this litigation do not dispute that the term “starch” in the ’405 patent

 covers pregelatinized starch.    (JTX 2 at 13:21-25).       Accordingly, Amgen argues that the

 pregelatinized starch in Amneal’s product is not functioning as a disintegrant, but as a diluent.

 (D.I. 359 at 28). Amgen’s sole support for its argument is Dr. Davies’ opinion that crospovidone

 is a super-disintegrant which destroys the structure of a tablet so quickly that the pregelatinized

 starch does not have the opportunity to act as a disintegrant. (D.I. 359 at 28; D.I. 354 at 269:4-

 10). For several reasons, I do not find Dr. Davies’ opinion, as applied to Amneal’s ANDA

 product, convincing.

        First, as Dr. McConville testified, Amneal’s ANDA product does not appear to need

 another diluent. A diluent is used to increase a tablet’s size and weight. (D.I. 353 at 185:20-

 186:7). Amneal’s ANDA product already includes two diluents—microcrystalline cellulose and

 mannitol—in a large amount; specifically, 67.89% by weight of the accused product. (PTX 183

 at 42). Given the presence of two diluents in such a large amount, it does not make sense that

 Amneal would add a small amount (5.24%) of a third diluent. (D.I. 355 at 821:7-822:2).

        Second, Dr. McConville persuasively testified that, with Amneal’s manufacturing

 process, the crospovidone cannot usurp the disintegration function of the pregelatinized starch.



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 (Id. at 809:3-6). In tablet manufacturing, ingredients can be either inside the granule with the

 active drug (intragranular) or outside the granule (extragranular).         (Id. at 810:1-5).     A

 disintegrant “can be more effective if used both ‘intragranularly’ and ‘extragranularly,’” because

 the extragranular disintegrant will rupture the tablet to expose the granules, and the intragranular

 disintegrant will rupture the granules into fine particles to expose the drug. (DTX 216 at 8; D.I.

 355 at 815:13-19, 818:15-819:3). Fine particles dissolve more quickly which helps achieve a

 rapid rate of dissolution—a required feature of the ’405 patent. (D.I. 355 at 819:3-6; D.I. 359 at

 6). Here, Amneal uses pregelatinized starch as an intragranular disintegrant and crospovidone as

 an extragranular disintegrant. (PTX 183 at 74 & 80). Because the crospovidone is only present

 outside the granules, it cannot accomplish that second disintegration of granules into fine

 particles. (D.I. 355 at 820:5-10). And because the pregelatinized starch is the only disintegrant

 inside the granules, it alone acts as a secondary disintegrant.

        Third, Amneal’s ANDA contains the results of testing which confirm that the

 pregelatinized starch in its product functions as a secondary disintegrant. (See PTX 183 at 70-

 73). To select a secondary disintegrant, Amneal tested the intragranular use of corn starch,

 pregelatinized starch, and crospovidone. (Id.). Amneal found that tablets with intragranular

 pregelatinized starch were “comparable” to Sensipar® in drug release, whereas corn starch was

 “slower in drug release.”       (Id. at 71).    Amneal further found that the combination of

 pregelatinized starch and crospovidone was “better than [a] high amount of Crospovidone

 alone.” (Id. at 73). Thus, Amneal concluded that pregelatinized starch was “the best choice for

 secondary disintegrant to design a robust, immediate release tablet dosage form of Cinacalcet

 Hydrochloride.” (Id. at 71). Dr. Davies admits that his opinion does not account for these tests.

 (D.I. 354 at 466:18-467:24). He also acknowledged that he is not aware of any experiments or



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 scientific literature showing that, in the presence of crospovidone, pregelatinized starch does not

 contribute to tablet disintegration. (Id. at 527:7-530:24).

        For all of these reasons, I find Dr. Davies’ opinion regarding the function of

 pregelatinized starch in Amneal’s ANDA product is not well supported. Instead, I conclude,

 consistent with Dr. McConville’s opinion, that the pregelatinized starch in Amneal’s product

 functions as a disintegrant. Because pregelatinized starch is an unlisted disintegrant, Amneal

 does not infringe the disintegrant limitation of claim 1.

                3.      Conclusion

        To prove infringement, Amgen had the burden to show by a preponderance of the

 evidence that Amneal’s binder Opadry was either a listed member of the binder Markush group

 or equivalent to a listed member. Amgen has done neither. In addition, Amneal’s accused

 product includes an unlisted disintegrant (pregelatinized starch) that functions as a disintegrant.

 Thus, Amgen has failed to show by a preponderance of the evidence that Amneal’s accused

 product infringes the binder and disintegrant limitations of the ’405 patent. For the foregoing

 reasons, Amneal does not infringe claim 1 of the ’405 patent. This means, pursuant to the

 parties’ stipulation, Amneal does not infringe claims 2-4, 8-12, and 14-17. (D.I. 336 at ¶ 1).

 This also means that Amgen has not proven by a preponderance of the evidence that Amneal

 infringed dependent claims 6 and 18. “One who does not infringe an independent claim cannot

 infringe a claim dependent (and thus containing all the limitations of) that claim.” Wahpeton

 Canvas Co. v. Frontier, Inc., 870 F.2d 1546, 1552 n. 9 (Fed. Cir. 1989).

        C.      Watson

        Watson filed Abbreviated New Drug Application No. 204377 (“ANDA”) with the FDA,

 seeking approval to market a generic version of cinacalcet hydrochloride in 30, 60, and 90 mg



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 dosage strengths. (D.I. 293, Ex. 1 at ¶ 100). Watson included a Paragraph IV Certification in its

 ANDA stating that the ’405 patent is invalid, unenforceable, or will not be infringed by the

 commercial manufacture, use, or sale of Watson’s product. (Id. at ¶ 101). Amgen claims that

 Watson’s product will infringe claims 1-6 and 8-20 of the ’405 patent. (D.I. 293, Ex. 2 at ¶¶ 39-

 40). Watson has stipulated that if its ANDA product infringes claim 1, then its ANDA product

 will also infringe claims 2-4, 8-17, and 19-20, to the extent each claim is found valid and

 enforceable. (D.I. 336 at ¶ 4). The stipulation did not cover the asserted claims 5, 6, and 18.

        According to the ANDA, Watson’s product has the following composition:

 Ingredient                                       Function

 Cinacalcet HCl                                   Active

 Microcrystalline Cellulose                       Diluent

 Povidone                                         Binder

 Pregelatinized Starch                            Binder / Disintegrant

 Low Substituted Hydroxypropyl Cellulose          Disintegrant
 (L-HPC)

 (PTX 368 at 27).

        The parties dispute whether Watson’s ANDA product infringes the binder and

 disintegrant limitations of claim 1. I need not address the binder limitation, however, because a

 finding of non-infringement can be based on the disintegrant limitation alone. Watson uses an

 unlisted disintegrant, low substituted hydroxypropyl cellulose (“L-HPC”), which under my claim

 construction order means there is no literal infringement. As a result, Amgen argues that L-HPC

 infringes claim 1 under the doctrine of equivalence. As noted previously, there are two tests for

 proving equivalence: the function-way-result test or the insubstantial differences test. Mylan




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 Institutional LLC v. Aurobindo Pharma Ltd., 857 F.3d 858, 866 (Fed. Cir. 2017). Amgen’s

 infringement theories under the doctrine of equivalence have shifted since trial.

        At trial, Amgen took the position that L-HPC is equivalent only to crospovidone and only

 under the function-way-result test. (See D.I. 353 at 81:2-5 (Amgen’s counsel stating in opening

 arguments that the evidence will show that L-HPC “is the equivalent to crospovidone.”); D.I.

 356 at 1089:5-7 (Amgen’s counsel stating in closing arguments that the evidence has shown that

 “L-HPC is an equivalent to crospovidone.”); D.I. 355 at 552:3-10 (Dr. Davies admitting that his

 opinions in this case rely only on the function-way-result test.). However, in its post-trial briefs,

 Amgen takes two new positions: (1) L-HPC is equivalent to all three listed disintegrants of claim

 1 under the function-way-result test, and (2) L-HPC is equivalent to crospovidone under the

 insubstantial differences test.6 (D.I. 359 at 32-36). Watson correctly points out that Amgen did

 not fairly present these positions in expert discovery or at trial. (D.I. 360 at 55). For that reason

 alone, Amgen’s new infringement theories should be disregarded as an unfair surprise.

 Nevertheless, I will address Amgen’s new infringement theories as presented in its post-trial

 briefs. Crospovidone is one of the three listed disintegrants in claim 1. Thus, in explaining why

 Amgen’s new theories under the function-way-result test are not persuasive, I will necessarily

 explain why Amgen’s original theory also would have failed.

                1.      Function-Way-Result Test

        Amgen claims that L-HPC, a disintegrant listed in Watson’s ANDA, is equivalent under

 the function-way-result test to all three listed disintegrants of claim 1. (D.I. 359 at 32-35). The

 three disintegrants listed in the Markush group of claim 1 are sodium starch glycolate,

 6
         Amgen also makes the new argument in its post-trial briefs that L-HPC is “insubstantially
 different from [all of] the claimed disintegrants.” (D.I. 359 at 32). Because Amgen provided no
 argument on this point besides this one sentence, I will not address it. It was not fairly presented
 to the court.

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 croscarmellose sodium, and crospovidone. (JTX 2 at 13:31-34). Under the function-way-result

 test, the patentee must show that the alleged equivalent “performs substantially the same

 function, in substantially the same way, to achieve substantially the same result, as disclosed in

 the claim.” Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1296 (Fed. Cir. 2009).

        The patentee should present its evidence on the doctrine of equivalence through the

 particularized testimony of an expert or person skilled in the art. AquaTex, 479 F.3d at 1329.

 Thus, Amgen should have presented through its expert, Dr. Davies, particularized testimony

 regarding the function, way, and result for each disintegrant to be compared. Dr. Davies,

 however, did not identify at trial what he considered to be the function, way, or result of the

 disintegrants being compared. (See D.I. 354 at 289:20-322:6). Instead, Amgen relies on a brief

 assertion by Dr. Davies that the disintegrants listed in claim 1 are “superdisintegrants,” and L-

 HPC    is   “another   superdisintegrant”    with     “similar   disintegrant   capability to   other

 superdisintegrants.” (Id. at 295:4-15). This testimony does not satisfy Amgen’s burden to

 present the particularized testimony of an expert regarding the function, way, and result of the

 disintegrants being compared.      Accordingly, Amgen failed to prove at trial that L-HPC is

 equivalent under the function-way-result test to all three disintegrants listed in claim 1.

        Amgen’s arguments in its post-trial brief fare no better. Amgen must show that L-HPC,

 sodium starch glycolate, croscarmellose sodium, and crospovidone perform substantially the

 same function, in substantially the same way, to achieve substantially the same result.

 According to Amgen, the function of L-HPC and the three listed disintegrants is to act as

 “superdisintegrants.” (See PTX 359 at 9 (stating the disintegrants in claim 1 “function as

 superdisintegrants”); Id. at 32 (stating that “L-HPC functions as a superdisintegrant”)).

 Scientific literature supports Dr. Davies’ opinion that the three listed disintegrants are



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 superdisintegrants, but that same literature disproves Dr. Davies’ assertion that L-HPC would be

 known by a POSA as a “superdisintegrant.” According to scientific literature, L-HPC was one

 of the earliest known disintegrants upon which the new generation of disintegrants, known as

 superdisintegrants, improved. (JTX 11 at 2546; JTX 12 at 2155; DTX 334 at 235). Thus, the

 term “superdisintegrants” by its nature is used to distinguish the three disintegrants listed in

 claim 1 from the L-HPC used in Watson’s product. (D.I. 355 at 669:14-670:6). Because L-HPC

 is not a superdisintegrant, it does not perform substantially the same function as the disintegrants

 listed in claim 1.

         Amgen claims that L-HPC and the three listed disintegrants perform in substantially the

 same way, because they all use the same mechanism of disintegration: swelling.7 (D.I. 359 at 32;

 D.I. 354 at 305:9-12). There is no dispute that the primary mechanism of action for L-HPC is

 swelling. (D.I. 355 at 671:7-9; DTX 324 at 2). But Amgen has not proven that the primary

 mechanism of action for each of the three listed disintegrants is swelling. For two of the three

 disintegrants—sodium starch glycolate and croscarmellose sodium—Amgen presented no

 evidence to corroborate Dr. Davies’ testimony that the primary mechanism of action is swelling.

 (D.I. 359 at 32-33). In addition, Dr. Davies’ testimony on this point was unclear: He also

 testified that “there are a number of different mechanisms by which [superdisintegrants] work.”

 (D.I. 355 at 517:20-518:1). For the third listed disintegrant—crospovidone—Watson’s expert,

 Dr. Appel, gave persuasive testimony, corroborated by scientific literature, that the primary

 mechanism of action is not swelling, but the recovery of elastic energy of deformation, also




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         “Swelling is associated with dimensional amplification where particles enlarge omni-
 directionally to push apart the adjoining components, thereby initiating the break-up of the tablet
 matrix.” (JTX 11 at 2546).


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 known as “strain recovery.”8 (Id. at 658:8-659:4, 668:3-20). Dr. Appel further testified that if

 swelling contributed to the disintegration mechanism of crospovidone it would play only a

 “minor role.” (Id. at 725:20-726:12).

        Scientific literature explains that initially there was no consensus regarding the primary

 mechanism of action for crospovidone, and researchers initially proposed swelling and wicking.9

 (JTX 11 at 2550). Since then, however, strain recovery has been “proposed and validated” as the

 “dominating disintegrant mechanism” of crospovidone. (Id.). Swelling makes only a “minor

 contribution.” (DTX 334 at 239; see also JTX 12 at 2162 (“recovery of strain-energy … is the

 major mechanism of disintegrant action of crospovidone and not capillarity wicking or

 swelling”)). I accept and credit this updated literature. Accordingly, Amgen has not proven that

 L-HPC and the three listed disintegrants perform in substantially the same way.

        Finally, Amgen asserts that L-HPC and the three listed disintegrants achieve substantially

 the same result: “rapid tablet disintegration.” (D.I. 359 at 32). Amgen’s assertion, however,

 rests on a single sentence in a marketing brochure from the chemical company Shin Etsu stating:

 “L-HPC has similar disintegration capability to the other ‘superdisintegrants.’” (Id. at 33; D.I.

 354 at 295:4-19; PTX 463 at 12). A marketing brochure is not a peer reviewed scientific article

 and its goal is to sell a product, in this case L-HPC. (D.I. 355 at 673:24-675:20).

        In addition, the marketing brochure itself calls into doubt Amgen’s assertion.          The

 brochure includes the caveat that the actual disintegration capability of various disintegrants “is




 8
         To describe strain recovery, Dr. Appel used the analogy of a compressed spring returning
 to its original form. (D.I. 355 at 659:2-13; see also JTX 11 at 2548 and JTX 12 at 2155-56
 (providing further detail on how the strain recovery mechanism operates in crospovidone)).
 9
        Wicking may be defined as a process of liquid entry by capillarity into the
 microstructured crevices within the compact to displace the air. (JTX 11 at 2547).

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 dependent on [the] active ingredient and formulation.”         (PTX 463 at 12).    The brochure

 illustrates its point with several graphs, reproduced below.




 (Id.). Each graph represents a tablet with a different active ingredient. (D.I. 355 at 685:14-

 688:10). For each tablet, the graph compares the disintegration rates of L-HPC to the three

 superdisintegrants. (Id.).

        Notably, the lines representing the rate of disintegration do not follow the same path and,

 at least for the CaHPO Tablets, do not even follow the same general direction. (Id. at 688:11-

 693:23). In addition, for Vitamin C tablets, crospovidone disintegrated at the fastest rate and

 sodium starch glycolate disintegrated at the slowest rate. (Id.). But for CaHPO4 tablets, the

 rankings flipped; sodium starch glycolate disintegrated at a faster rate than crospovidone. (Id.).

 Thus, two conclusions can be drawn from these graphs. One, L-HPC does not necessarily

 disintegrate at substantially the same rate as the superdisintegrants. (Id.). Two, it cannot be

 shown that L-HPC provides disintegration rates substantially similar to the superdisintegrants

 without testing involving the active ingredient at issue here, which is cinacalcet HCI. (D.I. 354

 at 433:10-19). Amgen, however, did not present any tests or scientific literature that have made




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 this comparison.10 Thus, Amgen has not proven that L-HPC achieves substantially the same

 result as all three listed disintegrants.   Given the foregoing, Amgen has not proven by a

 preponderance of the evidence that L-HPC is equivalent to all three listed disintegrants under the

 function-way-result test.

                2.      Insubstantial Differences Test

        Amgen argues that L-HPC is equivalent to crospovidone under the insubstantial

 differences test. (D.I. 359 at 36). The Federal Circuit has recognized that the function-way-

 result test can obscure important chemical differences and, therefore, advised that “the

 substantial differences test may be more suitable than [the function-way-result test] for

 determining equivalence in the chemical arts.”        Mylan, 857 F.3d at 867-69.        Under the

 insubstantial differences test, “[a]n element in the accused product is equivalent to a claimed

 element if the differences between the two elements are ‘insubstantial’ to one of ordinary skill in

 the art.” Wi-Lan, Inc. v. Apple, Inc., 811 F.3d 455, 463 (Fed. Cir. 2016). Amgen’s expert, Dr.

 Davies, did not provide an opinion regarding the insubstantial differences between L-HPC and

 crospovidone. (See D.I. 355 at 552:3-10 (Dr. Davies admitting that “[his] opinions in this case

 are entirely using the function way result test.”)). Thus, the only particularized testimony in the

 trial record regarding the differences between L-HPC and crospovidone was presented by

 Watson’s expert, Dr. Appel.         She identified several differences between L-HPC and

 crospovidone, which were corroborated by scientific literature.

 10
         Amgen’s comparison of a disintegration test in Watson’s Lab Notebook to a
 disintegration test in Watson’s ANDA is not adequate for these purposes, because the
 formulations used different amounts of each excipient. (D.I. 359 at 33-34; PTX 368 at 27 & 50;
 PTX 391 at WTS-CNCLT-00173157 & 173159). Most noticeably, the intragranular disintegrant
 was almost doubled (6.66 mg compared to 10.20 mg) and the extragranular disintegrant was
 almost halved (16.20 mg compared to 9.75 mg). (PTX 368 at 27; PTX 391 at WTS-CNCLT-
 00173157). As Dr. Appel testified, a POSA would see these as two different formulations. (D.I.
 355 at 740:3-741:14).

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        First, as Dr. Appel explained, L-HPC and crospovidone have different physical shapes.

 (D.I. 355 at 655:20-656:11). The physical shape of the particles affects how particles flow.

 (Id.). Particle flow “plays a crucial role” in pharmaceutical manufacturing, because “good

 flowability” ensures that the tablets’ contents are uniform and consistent. (DTX 324 at 4; D.I.

 355 at 655:20-656:11). Crospovidone particles are spherical “like marbles,” whereas L-HPC

 particles are long and narrow “like spaghetti noodles.” (D.I. 355 at 655:13-656:5; PTX 438 at

 209 & 323). “Marbles flow really well,” whereas spaghetti noodles “don’t really flow well.”

 (D.I. 355 at 655:13-656:5; see also DTX 324 at 1 (stating that L-HPC “showed poor flow

 properties” due to its high aspect ratios)).

        Second, crospovidone and L-HPC have different chemical structures. Crospovidone is a

 five-member ring with four carbons and one nitrogen. (D.I. 355 at 653:1-7; PTX 438 at 208). L-

 HPC is a six-member ring with five carbons and one oxygen. (D.I. 355 at 653:1-15; PTX 438 at

 322). Crospovidone is cross-linked, whereas L-HPC is not. (D.I. 355 at 661:22-662:18, 664:4-

 5). According to Dr. Appel, these differences mean a POSA would not consider L-HPC and

 crospovidone “as equivalent chemically.” (Id. at 652:22-653:15).

        Third, L-HPC is multi-functional, whereas crospovidone is not.       (Id. at 656:15-22,

 671:14-16). L-HPC can act as a binder or disintegrant, whereas crospovidone functions only as a

 disintegrant. (PTX 438 at 208 & 322). A POSA must take into account the multifunctional

 nature of an excipient, because the specific function such excipient will perform in any given

 formulation depends on the manufacturing process and the other excipients present. (D.I. 355 at

 656:22-658:7; D.I. 354 at 268:21-269:3).

        Fourth, when acting as a disintegrant, L-HPC is less potent than crospovidone. (Id. at

 666:7-23; DTX 334 at 240 (stating that L-HPC “is not as effective as” crospovidone); JTX 12 at



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 2155 (explaining that crospovidone is “more efficient” than L-HPC)). Crospovidone levels are

 usually in the 2-5% range, and higher levels may cause problems, whereas L-HPC levels are

 typically in the 2-10% range, but can be higher. (DTX 334 at 239-40; D.I. 355 at 665:14-

 666:19). Given all of the foregoing evidence, Dr. Appel has credibly opined that L-HPC and

 crospovidone have differences that a POSA would find substantial. (D.I. 355 at 647:18-648:6,

 653:19-654:7).        Therefore, Amgen has not carried its burden of showing that L-HPC is

 equivalent to crospovidone under the insubstantial differences test.

                  3.      Conclusion

         Amgen has failed to prove by a preponderance of the evidence that L-HPC is equivalent

 to all of the disintegrants listed in claim 1 under the function-way-result test or that L-HPC is

 equivalent to crospovidone alone under the insubstantial differences test. Therefore, Watson

 does not infringe claim 1 of the ’405 patent. This means, per the parties’ stipulation, Watson

 does not infringe claims 2-4, 8-17, and 19-20. (D.I. 336 at ¶ 4). This also means, per Wahpeton

 Canvas, Watson does not infringe claims 5, 6, and 18. Wahpeton Canvas, 870 F.2d at 1552 n. 9

 (“One who does not infringe an independent claim cannot infringe a claim dependent (and thus

 containing all the limitations of) that claim.”).

         D.       Piramal

         Piramal filed Abbreviated New Drug Application No. 210207 (“ANDA”) with the FDA,

 seeking approval to market a generic version of cinacalcet hydrochloride in 30, 60, and 90 mg

 dosage strengths. (D.I. 293, Ex. 1 at ¶ 80). Piramal included a Paragraph IV Certification in its

 ANDA stating that the ’405 patent is invalid, unenforceable, or will not be infringed by the

 commercial manufacture, use, or sale of Piramal’s product. (Id. at ¶ 81). Amgen claims that

 Piramal’s product will infringe claims 1-6 and 8-20 of the ’405 patent. (D.I. 293, Ex. 2 at ¶¶ 35-



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 36). Piramal has stipulated that if its ANDA product infringes claim 1, then its ANDA product

 will also infringe claims 2-4, 8-17, and 19-20, to the extent each claim is found valid and

 enforceable. (D.I. 336 at ¶ 3). The stipulation did not cover the asserted claims 5, 6, and 18.

        According to the ANDA, Piramal’s product has the following composition:

 Ingredient                                       Function

 Cinacalcet HCl                                   Active

 Corn / Maize Starch                              Diluent

 Microcrystalline Cellulose                       Diluent

 Pregelatinized Starch                            Binder

 Crospovidone                                     Disintegrant

 (PTX 494 at PIR 229).

        The parties dispute whether Piramal’s ANDA product infringes the binder and

 disintegrant limitations of claim 1. A finding of non-infringement, however, can be resolved on

 the binder limitation alone.     Amgen argues that the unlisted binder in Piramal’s ANDA

 product—pregelatinized starch—has two components; a native starch fraction that actually

 functions as a diluent; and a cold water soluble fraction that functions as a binder. (D.I. 359 at

 18-21). Neither pregelatinized starch nor its cold water soluble fraction are listed in the Markush

 group for binders, which under my claim construction order means there is no literal

 infringement. Accordingly, Amgen argues that cold water soluble fraction is equivalent to

 povidone. (Id.). For the reasons explained below, however, I find that Amgen is foreclosed by

 prosecution history estoppel from asserting the doctrine of equivalents against Piramal’s use of

 pregelatinized starch as a binder.




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                 1.      Prosecution History Estoppel Applies

         Prosecution history estoppel prevents a patent owner from using the doctrine of

 equivalents to recapture subject matter surrendered to acquire the patent. Honeywell Int’l v.

 Hamilton Sunstrand Corp., 523 F.3d 1304, 1312 (Fed. Cir. 2008). A presumption arises that the

 patent owner surrendered all equivalents in “the territory between the original claim and the

 amended claim” where: (1) an amendment narrows the scope of the claims, and (2) the

 amendment is adopted for a substantial reason related to patentability. Festo Corp. v. Shoketsu

 Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 740 (2002). Amgen does not dispute that the

 Examiner’s Amendment was a narrowing amendment. (See D.I. 359 at 49; D.I. 354 at 400:8-13,

 402:19-22). Thus, the only issue here is whether the Examiner’s Amendment was adopted for

 substantial reasons related to patentability. I find that it was.

         Amgen tried—and failed—to overcome an obviousness rejection by making only one

 change to the claims: in the 2014 Amendment, Amgen narrowed the amount of cinacalcet HCl to

 “about 20 mg to about 100 mg.” (JTX 5 at SENS-AMG 309, 316-17). The Examiner did not

 allow the claims in the 2014 Amendment. Instead, the Examiner proposed the Examiner’s

 Amendment, which added the Markush groups to the binder and disintegrant limitations. (Id. at

 SENS-AMG 328-340).          It was only after Amgen agreed to the entry of the Examiner’s

 Amendment that the Examiner allowed the claims over the prior art. (Id.). There would have

 been no need for the Examiner to propose an amendment if Amgen’s 2014 Amendment was

 sufficient. In addition, the Examiner expressly stated that he was allowing the claims as set forth

 in the Examiner’s Amendment because, inter alia, the closest prior art “fails to specifically

 disclose or render obvious the combination of components and in the amounts thereof.” (Id. at

 SENS-AMG 338). The Examiner’s reliance on the “combination of components” underscores



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 the fact that the precise amount of cinacalcet HCI proposed in the 2014 Amendment was not

 enough by itself to overcome the obviousness rejection.

        In addition, the Examiner’s Amendment employed recognized methods for overcoming

 an obviousness rejection.11 Original dependent claims 6 and 8 were canceled and the limitations

 in those claims—which were the Markush groups for binders and disintegrants respectively—

 were imported into now independent claim 1. See, e.g., Ranbaxy Pharm. Inc. v. Apotex, Inc.,

 350 F.3d 1235, 1240 (Fed. Cir. 2003) (where patentee rewrote dependent claims into

 independent form, amendment was made for a substantial reason related to patentability);

 Mycogen Plant Science, Inc. & Agrigenetics, Inc. v. Monsanto Co., 261 F.3d 1345, 1350 (Fed.

 Cir. 2001) (finding that prosecution history estoppel applies where limitations were imported

 into independent claims from original dependent claims). At the same time, the Markush groups

 in claim 1 of the ’405 patent resulted in fewer combinations of excipients than disclosed in the

 prior art. Creekmore disclosed 19 binders and 8 disintegrants, resulting in 152 combinations.

 (PTX 7 at 2:32-43; D.I. 355 at 633:10-21). Hsu disclosed 10 binders and 12 disintegrants,

 resulting in 120 combinations. (PTX 11 at ¶¶ 17, 46, 51; D.I. 355 at 633:22-634:11). The

 Examiner’s Amendment disclosed a closed group of 4 binders and 3 disintegrants that resulted in

 12 combinations. (D.I. 355 at 634:12-635:22). An obviousness rejection can be overcome by

 narrowing a claim to a smaller set of members within a group. See, e.g., Ranbaxy, 350 F.3d at

 1240-41 (limiting “highly polar solvent” to a “defined group of solvents” overcame obviousness

 rejection); Merck & Co. v. Mylan Pharm. Inc., 190 F.3d 1335, 1340-41 (Fed. Cir. 1999) (broad

 claims to polymers narrowed to specific polymers). For all of these reasons, I find that the

 11
         Amgen argues that the Examiner’s Amendment did not overcome the obviousness
 rejection. (D.I. 359 at 60-65). However, a patentee “may not both make the amendment and
 then challenge its necessity in a subsequent infringement action on the allowed claim.” Bai v.
 L&L Wings, Inc., 160 F.3d 1350, 1356 (Fed. Cir. 1998).

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 Examiner’s Amendment was adopted for substantial reasons related to patentability. Amgen’s

 arguments to the contrary are unpersuasive.

        First, Amgen relies heavily on its counsel’s remark in the 2015 Preliminary Amendment

 that the “amendments have not been made in response to a prior art rejection but rather to place

 the claims in proper format and to better define the claimed subject matter.” (D.I. 359 at 58-59;

 JTX 5 at SENS-AMG 1583). There is no reason to read this statement as describing anything

 more than the reason behind the 2015 Preliminary Amendment. Amgen itself states that “proper

 format” means the underlining added to show the changes made to the 2014 Amendment by the

 Examiner’s Amendment, which is exactly what the 2015 Preliminary Amendment did. (D.I. 359

 at 46 & 54). Thus, I find that a self-serving remark by Amgen’s counsel in the 2015 Preliminary

 Amendment does not explain the reasons why Amgen agreed to the Examiner’s Amendment

 over eight months earlier.

        Second, Amgen relies heavily on the Examiner’s statement in the second, third, and

 fourth notices of allowance that he was allowing the claims due to, inter alia, “the nature of the

 excipients.” (D.I. 359 at 59). It is not clear from the record whether the phrase “nature of the

 excipients” means the genus of excipients (e.g., binder, diluent, etc.) or the species of excipients

 (e.g., sucrose, povidone, etc.). Nevertheless, when the Examiner described in the rejection the

 prior art that the claims failed to overcome, he explicitly pointed to the disclosure of specific

 excipients in specific functions. (See, e.g., JTX 5 at SENS-AMG 295 (stating that Creekmore

 discloses “one or more fillers like microcrystalline cellulose,” “one or more binders like starch,”

 and “one or more disintegrants like polyvinylpyrrolidone (povidone)”); Id. (stating that Hsu

 discloses “binders like starch,” “diluents like microcrystalline cellulose,” and “disintegrants such

 as crospovidone”)). When the Examiner first allowed the claims in the ’405 patent, he explained



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 that the “combination of components … was not taught or suggested by” the prior art and is,

 therefore, “patentably distinct over the prior art.” (JTX 5 at SENS-AMG 338). Thus, the

 Examiner very much had in mind the species of excipients when he decided that adding the

 Markush groups to claim 1 overcame the prior art. No further amendments or arguments were

 made after the first notice of allowance. So the later notices of allowance provide no additional

 insight into the reasons for the Examiner’s Amendment.

        Third, Amgen argues that if the Examiner’s Amendment had been necessary for

 patentability, the Examiner would have checked one of the boxes in the Interview Summary

 form under the “Issues Discussed” section. (D.I. 354 at 348:4-349:20; D.I. 359 at 42). Several

 of the boxes are for common statutory bases used to reject claims: 35 U.S.C. § 101 (patent

 eligibility), § 112 (enablement), § 102 (novelty), and § 103 (obviousness). (JTX 5 at SENS-

 AMG 340). One box is for “Others” which, if checked, may have affirmatively indicated that

 some issue unrelated to patentability was discussed during the interview. (Id.). Here, none of

 the boxes were checked. (Id.). Accordingly, the boxes themselves provide no evidence either

 way regarding whether the amendment was made for reasons of patentability. It is also of no

 moment that none of the boxes are checked. The Manual of Patent Examining Procedure (the

 “MPEP”) permits the Examiner to state his reasons for allowance in the Examiner’s Amendment

 and not the Interview Summary Form. (See MPEP § 713 (“For an examiner-initiated interview,

 it is the responsibility of the examiner to make the substance of the interview of record either on

 an Interview Summary form or, when the interview results in allowance of the application, by

 incorporating a complete record of the interview in an examiner’s amendment.” (emphasis

 added)). Accordingly, I rely on the contents of the Examiner’s Amendment to ascertain what

 was discussed in the interview.



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        Finally, I am not persuaded by Amgen’s argument that the Examiner’s Amendment was a

 clarifying amendment, because the cases on which Amgen relies to illustrate its position are

 inapposite. (D.I. 359 at 55-58). In those cases, the “clarifying” amendments did not lead to

 prosecution history estoppel, because the first prong of the Festo test was not satisfied: the

 amendment did not narrow the claims. See, e.g., Intendis GMBH v. Glenmark Pharma. Inc.,

 USA, 822 F.3d 1355, 1365 (Fed. Cir. 2016) (“Amendment-based estoppel does not apply because

 the amendment was not a narrowing amendment made to obtain the patent. Rather, this record

 demonstrates that the amendment to the dependent claims was a clarifying amendment.”);

 Interactive Pictures Corp. v. Infinite Pictures, Inc., 274 F.3d 1371, 1377 (Fed. Cir. 2001) (“As to

 the amendment-based estoppel issue, we conclude that the addition of the words ‘transform

 calculation’ was not a narrowing amendment because that addition did nothing more than make

 express what had been implicit in the claim as originally worded.”); TurboCare Div. of Demag

 Delaval Turbomachinery Corp. v. Gen. Elec. Co., 264 F.3d 1111, 1126 (Fed. Cir. 2001) (“Here,

 the newly added claim only redefined the small clearance position limitation without narrowing

 the claim. Therefore Festo is not applicable.”). If anything, these cases suggest that a clarifying

 amendment is one that by its nature adds additional language without narrowing a claim. Here,

 the Examiner’s Amendment admittedly narrowed the claims, so it is not a clarifying amendment.

                2.     Scope of Equivalents Surrendered

        Because the Examiner’s Amendment narrowed the claims and the amendment was made

 for substantial reasons related to patentability, a presumption arises that Amgen surrendered all

 equivalents in “the territory between the original claim and the amended claim.” Festo Corp.,

 535 U.S. at 740. Amgen may rebut that presumption by showing that the alleged equivalent (1)

 “could not reasonably have been described at the time the amendment was made,” (2) “was



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 tangential to the purpose of the amendment,” or (3) “was not foreseeable (and thus not

 claimable) at the time of the amendment.” Research Plastics, Inc. v. Fed. Packaging Corp., 421

 F.3d 1290, 1298 (Fed. Cir. 2005). Amgen argues that “the tangentiality exception to prosecution

 history estoppel applies.” (D.I. 359 at 66-67).

        Amgen has failed to show that the Examiner’s Amendment bore no more than a

 tangential relation to the equivalent in question. “Although there is no hard-and-fast test for

 what is and what is not a tangential relation, it is clear that an amendment made to avoid prior art

 that contains the equivalent in question is not tangential.” Intervet Inc. v. Merial Ltd., 617 F.3d

 1282, 1291 (Fed. Cir. 2010). Here, the Examiner’s Amendment was able to overcome the prior

 art by claiming a smaller set of the binders disclosed in the prior art. By agreeing to the

 Examiner’s Amendment, Amgen abandoned the other binders disclosed in the prior art. As the

 Examiner noted in making his rejection, one of the binders disclosed in both Creekmore and Hsu

 was “starch.” (JTX 5 at SENS-AMG at 295). In fact, Hsu states, “[p]referrably the binder is

 starch.”   (PTX 11 at ¶ 46).      In this litigation, Amgen has treated the term “starch” as

 encompassing “pregelatinized starch.” Even if Amgen had not done so, Creekmore discloses as

 a binder the use of “modified starch,” which includes pregelatinized starch. (PTX 7 at 2:32-43).

 The ’405 patent does not claim starch or pregelatinized starch as a binder.           As a result,

 prosecution history estoppel bars Amgen from asserting the doctrine of equivalents against

 Piramal to reclaim pregelatinized starch, or any portion thereof, as a binder. Because Amgen

 cannot assert the doctrine of equivalents against the binder in Piramal’s ANDA product, Amgen

 cannot prove that Piramal’s product infringes claim 1 of the ’405 patent.

        Finally, all other defendants against whom the doctrine of equivalents was asserted have,

 like Piramal, raised the defense of prosecution history estoppel. Nevertheless, I have decided for



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 the sake of expediency to only address the issue as it relates to Piramal.12 I do not decide,

 however, that the estoppel defense was not available to these other defendants.         Rather, I

 conclude that even if it was not available, Amgen still could not prove infringement for the

 reasons stated. In other words, I have not decided the full scope of what Amgen surrendered

 through prosecution history estoppel, only that it surrendered as an equivalent the use of

 pregelatinized starch, in whole or in part, as a binder.

                3.      Conclusion

        For the foregoing reasons, Amgen cannot prove that Piramal’s product infringes claim 1

 of the ’405 patent. Per the parties’ stipulation, Piramal also does not infringe claims 2-4, 8-17,

 and 19-20. Finally, under Wahpeton Canvas, one who does not infringe an independent claim

 cannot infringe the dependent claims. 870 F.2d at 1552 n. 9. Therefore, Piramal does not

 infringe the dependent claims not covered by the stipulation, which are claims 5, 6, and 18.

        E.      Zydus

        Zydus filed Abbreviated New Drug Application No. 20-8971 (“ANDA”) with the FDA,

 seeking approval to market a generic version of cinacalcet hydrochloride in 30, 60, and 90 mg

 dosage strengths. (D.I. 293, Ex. 1 at ¶ 110). Zydus included a Paragraph IV Certification in its

 ANDA stating that the ’405 patent is invalid, unenforceable, or will not be infringed by the

 commercial manufacture, use, or sale of Zydus’ product. (Id. at ¶ 111). Amgen, however,

 claims that Zydus’ product will infringe claims 1-4, 6, 8-9, and 15-20 of the ’405 patent. (D.I.

 293, Ex. 2 at ¶¶ 41-42). Zydus has stipulated that if its ANDA product infringes claim 1, then its

 ANDA product will also infringe claims 2-4, 8-9, 15-17, and 19 to the extent each claim is found

 12
         Amgen has repeatedly indicated that expediency in rendering a decision is important in
 order to avoid preliminary injunction proceedings. (See, e.g., D.I. 322 at 21:12-16). Only one of
 the defendants is currently subject to the 30-month stay and Amgen’s patent on the active drug
 cinacalcet HCI expired in March. (Id. at 17:22-18:24; 20:8-20).

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 valid and enforceable. (D.I. 336 at ¶ 5). The stipulation did not cover the asserted claims 6, 18,

 and 20.

           According to the ANDA, Zydus’ product has the following composition:

 Ingredient                                         Function

 Cinacalcet HCl                                     Active Ingredient

 Microcrystalline Cellulose, NF                     Diluent

 Pregelatinized Starch, NF                          Diluent

 Hydroxy Propyl Cellulose, NF                       Binder

 Crospovidone, NF                                   Disintegrant

 (PTX 395 at 27).

           Amgen’s dispute with Zydus comes down to the function of pregelatinized starch.

 Amgen takes the position that it functions as a diluent, as stated in Zydus’ ANDA. (D.I. 367 at

 11). Zydus takes the position that it functions as a binder. (D.I. 360 at 63). Zydus’ position

 adopts an opinion Amgen’s expert has asserted against other defendants. (Id. at 63-64). Thus,

 we are in a counterintuitive world where Amgen wins against Zydus only if the opinion of

 Amgen’s expert—which Amgen relies on to prove infringement against the other defendants—is

 unpersuasive.

                  1.      The Function of Pregelatinized Starch

           In tablet formulations, pregelatinized starch can, depending on the context, function as a

 diluent, binder, or disintegrant. (PTX 438 at 691; PTX 439 at 62). The ’405 patent, however,




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 limited itself by claiming pregelatinized starch only as a diluent.13 (JTX 2 at 13:21-24). Where a

 defendant used pregelatinized starch as a binder (like Piramal), or had no binder but used

 pregelatinized starch as a diluent (like Aurobindo), Amgen’s expert, Dr. Davies, opined that

 pregelatinized starch had two components: a cold water soluble fraction that functioned as a

 binder and a native starch fraction that functioned as a diluent. (PTX 494 at PIR 229; D.I. 353 at

 220:4-221:5; PTX 199 at 30; D.I. 354 at 250:13-251:10). Neither pregelatinized starch nor its

 cold water soluble fraction are listed in the Markush group for binders.          Under my claim

 construction order, there is no literal infringement if an accused product uses an unlisted binder.

 (D.I. 300 at 6).

         On the face of the ANDA, Zydus’ product appears to literally infringe each and every

 limitation of claim 1. To avoid a finding of literal infringement, Zydus simply adopted Dr.

 Davies’ opinion that the cold water soluble fraction of pregelatinized starch functions as an

 unlisted binder.14   (See D.I. 354 at 279:7-12).        Normally, where literal infringement is

 unavailable, a patentee can still prove infringement by resorting to the doctrine of equivalents.15

 Here, however, I granted a motion in limine, which bars Amgen from asserting the doctrine of

 equivalents against Zydus. (D.I. 357, D.I. 358). So, if I find Dr. Davies’ opinion persuasive,

 then Amgen cannot prove infringement against Zydus.


 13
         Actually, the ’405 patent claims “starch” not “pregelatinized starch” as a diluent. (JTX 2
 at 13:21-24). Nevertheless, the parties have litigated the case as if the term “starch” covers
 pregelatinized starch. (See D.I. 294, Ex. 7.1 at 97-99). Thus, for the purposes of this litigation, I
 read the term “starch” in the ’405 patent as covering pregelatinized starch.
 14
         Zydus presented its own expert, Dr. Roth, who gave the same opinion as Dr. Davies.
 (D.I. 356 at 909:18- 912:12). But the only evidence Zydus relied on to corroborate or explain its
 expert’s opinion was Dr. Davies’ opinion. (D.I. 360 at 63 (citing Dr. Davies’ testimony as
 evidence for the opinion)). Accordingly, I do not focus on Dr. Roth’s duplicative opinion.
 15
        With respect to other defendants, Dr. Davies opined that the cold water soluble fraction
 was equivalent to povidone. (D.I. 353 at 220:20-221:1; D.I. 354 at 257:3-259:1).

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        Amgen makes no effort to attack the scientific basis for Zydus’ argument as doing so

 would undermine the very infringement theory Amgen asserts against other defendants. (D.I.

 359 at 17-18). Nevertheless, for the following reasons, I am not persuaded that Dr. Davies’

 opinion regarding pregelatinized starch is scientifically sound.     To start, Amgen was not

 consistent in asserting where Dr. Davies’ fractions opinion operates, a practice that does not

 comport with sound scientific principles. Amgen claims that three defendants literally infringe

 claim 1, because the fractions opinion applies to Aurobindo and Piramal but not to Zydus. But

 Dr. Davies could not provide a credible explanation for this variation in treatment. (D.I. 354 at

 320:1-321:24). First, he said that the pregelatinized starch in Zydus’ product functioned only as

 a diluent, because that was how Zydus identified the pregelatinized starch in its ANDA. (Id.).

 When it was pointed out that Dr. Davies did not accept how pregelatinized starch was identified

 in other defendants’ ANDAs, he agreed and said that was why he was also asserting his fractions

 opinion against Zydus. (Id.).

        This shift in infringement theories does not place Amgen in a better position. The ’405

 patent limits the weight of binders to “from about 1% to about 5%.” (JTX 2 at 13:26-27). As

 Amgen acknowledges, Zydus already uses 4.98% of hydroxy propyl cellulose as a binder. (PTX

 395 at 27). If the cold water soluble fraction in Zydus’ product also acts a binder, then that is

 another 3.97% acting as a binder.16 Adding 4.98% of hydroxy propyl cellulose to 3.97% of a

 cold water soluble fraction results in a total 8.95% of binder, which exceeds the “about 5%”

 weight limitation in the ’405 patent. (D.I. 355 at 535:15-22). When Zydus raised this point with

 Dr. Davies, he shifted infringement theories yet again, stating that Zydus’ product literally


 16
         Zydus product has 11% of pregelatinized starch. (PTX 395 at 27). Dr. Davies claims
 that 13.1% of pregelatinized starch is a cold water soluble portion. (D.I. 354 at 253:17-254:20;
 PTX 202). Therefore, 13.1% x 11% = 3.97%


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 infringed the binder limitation, because there was “at least one” binder from the Markush group

 in Zydus’ product that was within the about 1% to about 5% weight limitation: the 4.98% of

 hydroxy propyl cellulose. (Id. at 539:4-540:12). This testimony is not consistent with the

 court’s controlling claim construction. (See D.I. 300; D.I. 357).

        The same problems with Dr. Davies’ fractions opinion appeared again when Amgen tried

 to apply it to the pregelatinized starch in the Example of the ’405 patent. Dr. Davies claimed that

 the cold water soluble fraction of the pregelatinized starch in the Example functions as a binder.

 (D.I. 354 at 315:22-316:11). The Example has 33.378% of pregelatinized starch, of which

 4.373% purportedly acts as a binder.17 (JTX 2 at 11:22-23). Dr. Davies further testified that the

 2.044% of povidone in the Example also functions as a binder. (Id. at 315:8-13). Adding these

 two binder amounts together (4.373% of a cold water soluble fraction and 2.044% of povidone)

 results in 6.417% of binder total. Thus, under Dr. Davies’ fractions opinion, the Example would

 not meet the “from about 1% to about 5%” weight limitation for binders. This issue is avoided,

 however, if the court adopts Dr. Davies’ prior testimony that the pregelatinized starch in the

 Example is acting only as a diluent. (D.I. 354 at 312:3-23).

        The only evidence Amgen presented to corroborate Dr. Davies’ fractions opinion is

 unpersuasive.    Amgen relies on a single sentence in the Handbook of Pharmaceutical

 Granulation Technology stating: “The water-soluble fraction [of pregelatinized starch] acts as a

 binder, whereas the remaining fraction facilitates the tablet disintegration process.” (PTX 439 at

 62; D.I. 359 at 19; D.I. 354 at 471:22-472:12). Reading this sentence in the context of the

 Handbook and the record as a whole, it appears that Amgen imparts too much meaning to the


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        As stated previously, Dr. Davies claims that 13.1% of pregelatinized starch is a cold
 water soluble portion. (D.I. 354 at 253:17-254:20; PTX 202). Therefore, 13.1% x 33.378% =
 4.373%.


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 word “acts” in the phrase “acts as a binder.” Nowhere else besides that one word does the

 Handbooks itself or any other scientific literature in the record suggest that only the cold water

 soluble fraction of pregelatinized starch is acting as the binder. As Aurobindo’s expert pointed

 out, when that same Handbook advises the percentage amount of binders to use in a formula, it

 advises using 2-5% of “pregelatinized starch,” not 2-5% of “the cold water soluble fraction of

 pregelatinized starch.” (PTX 439 at 61; D.I. 356 at 962:3-963:10). If anything, the sentence on

 which Amgen relies can be reasonably construed to mean that the cold water soluble fraction of

 pregelatinized starch imparts properties that improve its binding capabilities. The sentence itself

 makes this suggestion when it addresses the water soluble fraction and the remaining native

 starch fraction in parallel: It states that the water soluble fraction “acts” as a binder, and the

 native starch fraction “facilitates” the disintegration process. (PTX 439 at 62). “Facilitates”

 means “[t]o make easy or easier.” Am. Heritage Dictionary (4th ed. 2009).

        Ultimately, Dr. Davies consistently asserted, and other experts agreed, that the particular

 function of pregelatinized starch in any given formulation “depends on the context,” including

 the amount of pregelatinized starch, the other excipients present, and the manufacturing process.

 (D.I. 354 at 268:21-269:3; Id. at 309:21-22; D.I. 355 at 506:15-507:17; Id. at 510:2-11; Id. at

 511:4-512:5). And yet Amgen did not have its expert give testimony that applied those same

 contextual factors to each specific defendant. On the defense side, however, Aurobindo’s expert,

 Dr. Fassihi, credibly explained how the amount of pregelatinized starch in a particular

 formulation will dictate its function.18 (D.I. 356 at 955:21-960:1). As Dr. Fassihi explained and

 scientific literature confirmed, the theory of percolation holds that when pregelatinized starch is



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         Similarly, Amneal’s expert, Dr. McConville, explained how the manufacturing process
 affected the function of the pregelatinized starch in Amneal’s product. See, supra, Section
 III(B)(2).

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 included in a wet granulation formulation in an amount in excess of about 20% by weight, the

 pregelatinized starch functions as a diluent. (Id. at 961:11-18; DTX 228 at 112-14). When,

 however, the pregelatinized starch in a wet granulation formulation is between 5% and 10%, the

 pregelatinized starch functions as a tablet binder. (PTX 438 at 692; see also PTX 454 at 408

 (“[S]olution binders … are included in the formulation at relatively low concentrations, typically

 2-10% by weight.”)). When evaluating the ANDA products for Amneal, Piramal, and Zydus, the

 percolation theory provides the consistency lacking in Dr. Davies’ opinion.         For example,

 Amneal and Zydus use over 20% by weight of pregelatinized starch which is consistent with the

 diluent function identified in their ANDAs. (PTX 183 at 42; PTX 395 at 27). Piramal uses 11%

 of pregelatinized starch which is consistent with the binder function identified in its ANDA.

 (PTX 494 at PIR 229). Finally, the Example uses 33.378% of pregelatinized starch which is

 consistent with a diluent function that would result in the ’405 patent covering the Example.

 (JTX 2 at 11:22-23).

        Given all of the foregoing, I find that Amgen has not proven by a preponderance of the

 evidence that pregelatinized starch should be artificially divided into two fractions, with each

 fraction alone serving a different function. As a result, Zydus cannot defeat Amgen’s assertions

 of literal infringement by adopting Dr. Davies’ opinion that the cold water soluble fraction of

 pregelatinized starch functions as a binder. Zydus’ ANDA product literally infringes claim 1 to

 the extent the claim is found valid and enforceable.

                2.      Conclusion

        Amgen has asserted claims 1-4, 6, 8-9 and 15-20 of the ’405 patent against Zydus. (D.I.

 293, Ex. 2 at ¶¶ 41-42). Because I found above that Zydus’ ANDA product literally infringes

 claim 1, I also find per the parties’ stipulation that Zydus’ ANDA product literally infringes



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 claims 2-4, 8-9, 15-17, and 19, to the extent each claim is found valid and enforceable. (D.I. 336

 at ¶ 5).   This leaves for resolution claims 6, 18, and 20.      Amgen argues that the use of

 crospovidone in Zydus’ ANDA product literally satisfies claim 6. (D.I. 359 at 16 n. 8). I agree,

 but only to the extent the claim is found valid and enforceable. Finally, Amgen had the burden

 to prove by a preponderance of the evidence that Zydus infringed asserted claims 18 and 20, yet

 for reasons unknown to the court, Amgen neither presented argument on these claims nor entered

 into a stipulation covering these claims. Accordingly, Amgen has not carried its burden as to

 claims 18 and 20.

 IV.    CONCLUSION

        For the foregoing reasons, I find that Amgen has not proven infringement as to Amneal,

 Watson, and Piramal. As to Zydus, Amgen has proven infringement of claims 1-4, 6, 8-9, 15-17,

 and 19 to the extent the claims are valid and enforceable, but Amgen has not proven

 infringement of claims 18 and 20. Currently pending before the court is Amneal’s motion

 pursuant to Fed. R. Civ. P. 52(c) for judgment and Zydus’ motion pursuant to the same rule for

 partial judgment. (D.I. 325, D.I. 337). A decision on those motions will be forthcoming.




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